                  IN THE UNITED STATES DISTRICT COURT                     FILED
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION                                MAY 2 9 2020
                                                                  Clerk, U.S. District Court
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 THE CINCINNATI INSURANCE                           CV 19-175-M-DLC ' ~~ntana
 COMPANY,

                        Plaintiff,
                                                          ORDER
        vs.

 ENGINEERED STRUCTURES, INC.,
 K&K ROOFING & EXCAVATION,
 INC., and WALTER YOCHIM,

                        Defendants.

      Pursuant to the parties' Stipulation for Dismissal with Prejudice (Doc. 18),

      IT IS ORDERED that this action is DISMISSED WITH PREJUDICE, the

parties to bear their own costs and attorneys' fees. All deadlines are VACATED,

and any pending motions are DENIED AS MOOT.

      DATED this zc:w¾ay of May, 2020.




                                             Dana L. Christensen, District Judge
                                             United States District Court
